Case 3:22-cv-00931-TJC-PDB Document 11 Filed 09/14/22 Page 1 of 21 PageID 84




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION

DIONNE YOUNCE and
KENNETH W. GREENE,

       Plaintiffs,

v.                                          CASE NO.: 3:22-cv-931-TJC-PDB

CITY OF JACKSONVILLE, a
Florida municipal corporation,

       Defendant.
                                     /

       CITY OF JACKSONVILLE’S RESPONSE TO PLAINTIFFS’
         MOTION FOR PRELIMINARY INJUNCTION (DOC. 2)

       Defendant, City of Jacksonville (“City”), pursuant to this Court’s Order

of August 31, 2022 (Doc. 6), hereby files this response to Plaintiffs’ Motion for

Preliminary Injunction (Doc. 2). Plaintiffs’ motion should be denied.

     I. Background

       Plaintiffs are registered sexual offenders (“RSOs”) who were convicted of

sex crimes involving minors. They seek to enjoin enforcement of two provisions

of Jacksonville’s Ordinance Code (“Code”) governing their holiday and seasonal

activities. Their Complaint and Motion (Docs. 1 and 2) come just in time for

Halloween, with its long tradition of children going door-to-door to “trick or

treat” for candy. Halloween is the only holiday where children are impliedly

invited onto the properties of strangers.
Case 3:22-cv-00931-TJC-PDB Document 11 Filed 09/14/22 Page 2 of 21 PageID 85




      Plaintiff Dionne Younce is an RSO convicted in 2016 of Unlawful Sexual

Activity with Certain Minors (16-17 years old), in violation of Section 794.05(1),

Florida Statutes. Plaintiff Kenneth W. Greene was originally convicted in 2004

of Possession of a Photo or Picture Showing Sexual Performance of a Child, in

violation of Section 827.071(5), Florida Statutes. See Case Dockets, attached

hereto as Composite Exhibit A. Plaintiffs claim that by requiring them to place

a sign on their property during Halloween informing the public that they are

not handing out candy (with no reference to the fact that they are RSOs), as

well as limiting their ability to place displays on their property that might

attract children during holidays and seasonal events, the City’s Code violates

their First Amendment rights, causing them anxiety and distress.

      In Florida, the Legislature determined that “[r]epeat sexual offenders,

sexual offenders who use physical violence, and sexual offenders who prey on

children are sexual predators who present an extreme threat to the public

safety.” Fla. Stat. § 775.21(3)(a) (2022). 1 Moreover, “[s]exual offenders are

extremely likely to use physical violence and to repeat their offenses, and most

sexual offenders commit many offenses, have many more victims than are ever



1 There is a statutory difference between sexual offenders and sexual predators.
Sexual offenders are those individuals who have been convicted of certain sex crimes
(even one time), many involving minors. See Fla. Stat. § 943.0435(h)1. (2022). Sexual
predators, defined under the Florida Sexual Predators Act, Section 775.21, Florida
Statutes, are those who have repeated sexual offenses or who have been convicted of
a first-degree felony (i.e., more violent sexual offenders).
                                         2
Case 3:22-cv-00931-TJC-PDB Document 11 Filed 09/14/22 Page 3 of 21 PageID 86




reported, and are prosecuted for only a fraction of their crimes.” Id. Both

sexual offenders and sexual predators must register in Florida, and both are

subjected to many legal restrictions on their activities.

  II. The City’s Code History Governing Prohibited Activities for
      Sexual Offenders and Sexual Predators.

      In the City, Section 685.104 of the Code spells out “prohibited activities

for sexual offenders and sexual predators.” Plaintiffs complain about two

aspects of this section, one involving the posting of a sign on their property

during the Halloween holiday that simply reads “no candy or treats here,” and

one involving a limited ban on certain displays on their property, if those

displays are “primarily targeted to entice, attract, or lure a child” onto their

property. See Motion, Exs. 2-3, Code §§ 685.104(a)(3)(ii), (iv). The Jacksonville

Sheriff’s Office (JSO) enforces the provisions of Chapter 685, but there are no

allegations that either Plaintiff has ever been fined or arrested under the Code.

      In 2015, Chapter 685 was amended to address loopholes of which RSOs

in Jacksonville were taking advantage to continue to endanger children. The

original 2010 version of the legislation prohibited Halloween displays, and it

contained findings by the City as to the dangers to children posed by RSOs

participating in Halloween and using displays to entice children onto their

properties. See Ord. 2010-836-E, attached hereto as Exhibit B. After extensive

legislative findings, the City amended the Code by Ordinance 2015-214-E in


                                        3
Case 3:22-cv-00931-TJC-PDB Document 11 Filed 09/14/22 Page 4 of 21 PageID 87




order to protect children from being enticed by any displays or decorations on

an RSO’s property. See Motion, Ex. 1. The revisions did not ban all displays,

only those primarily targeted to lure children onto an RSO’s property.

      Nonetheless, shortly after the 2015 amendments, a federal lawsuit

ensued in this Court. See Doe and Doe v. City of Jacksonville, 3:15-cv-01401-

MMH-JRK. That lawsuit, like this one, challenged the display prohibition in

the Code. Ultimately, as a result of mediation handled by Judge Schlesinger,

the 2015 lawsuit settled with all parties agreeing on the amended Code

language that now appears in the 2016 version of Section 685.104. See Motion,

Ex. 2; Doe, 3:15-cv-01401-MMH-JRK, Docs. 36, 38-39. The parties, including

the two RSOs who brought the 2015 lawsuit on First Amendment and

vagueness grounds, agreed to the “primarily targeted toward children”

language in the again-challenged display prohibition in Code Section

685.104(a)(3)(iv) and in the Code definition of “display.”

      Now, more than six years later, Plaintiffs challenge the Code’s

prohibitions in this same Court on similar First Amendment grounds,

including a claim that the agreed-upon language in the display prohibition is

vague such that reasonable minds cannot discern its meaning. Plaintiffs only

challenge the sign requirement (in relation to Halloween) and the display

prohibition (not in relation to Halloween) in Chapter 685. They seek damages

for their “anxiety and distress,” attorney’s fees, and declaratory and injunctive

                                        4
Case 3:22-cv-00931-TJC-PDB Document 11 Filed 09/14/22 Page 5 of 21 PageID 88




relief. Docs. 1, 2. As they have never been fined or arrested, they have no other

actual damages.

    III.   Plaintiffs are Unlikely to Succeed on the Merits. 2

           A. The Sign-Posting Provision in City Ordinance Section
              685.104 Can Be Constitutionally Applied to Certain Sexual
              Offenders and Sexual Predators Whose Crimes Involve
              Children.

       Plaintiffs argue that Section 685.104(a)(3)(ii) of the Code, which requires

all sexual offenders or sexual predators to post a sign at their residences

reading “no candy or treats here,” amounts to compelled speech in violation of

the First Amendment. Plaintiffs claim the Eleventh Circuit’s recent decision

in McClendon v. Long, 22 F. 4th 1330 (11th Cir. 2022), forecloses the sign

requirement as it cannot meet strict scrutiny. 3 While McClendon did hold that

forced posting of signs on private property of all sex offenders, regardless of




2 A preliminary injunction “is an extraordinary and drastic remedy not to be granted
unless the movant clearly [establishes] the ‘burden of persuasion’ as to each of the
four prerequisites.” Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (citation
omitted); Mazurek v. Armstrong, 520 U.S. 968, 972 (1997). If the movant fails to carry
its burden of proving even one of the prerequisites, the preliminary injunction must
be denied, regardless of whether it meets the other requirements. See id.
3 In good faith, given the pending Motion and the McClendon decision, JSO has
agreed not to enforce the sign provision during Halloween 2022. See Declaration of
Lt. Derek Porter, attached hereto as Exhibit C, at ⁋ 4. However, JSO has had
problems with RSOs violating the sign provision in the past and has simply reminded
them of the requirement without further action. Id. at ⁋ 5. More importantly, JSO
has had problems with RSOs actively trying to use candy or decorations to entice
children onto their property, and therefore JSO will continue to enforce the remaining
provisions of Chapter 685.104. Id. at ⁋⁋ 4, 6.
                                          5
Case 3:22-cv-00931-TJC-PDB Document 11 Filed 09/14/22 Page 6 of 21 PageID 89




whether their individual crimes involved children or adults, was compelled

speech that was not narrowly tailored to meet a compelling government

interest in protecting children, the Court did not hold that such signs can never

be required for certain sexual offenders. In fact, the Court held that protecting

children is per se a compelling interest, but such a provision needs to be

narrowly tailored to meet that interest, suggesting that strict scrutiny could

be met under the right circumstances. Id. at 1338.

      There are differences between the county policy in McClendon and the

sign requirement in this case. In McClendon, the sheriff’s office, itself, placed

large warning signs on the properties of all sex offenders regardless of whether

they were classified as having an increased rate of recidivism, also stating that

the signs were a “community safety message” from the sheriff’s office. See id.

at 1333-34. 4   Here, the City requires a small, two-inch letter sign simply

stating that there are no candy or treats at the residence, nothing more. 5


4 Notably, prior to 2018, the sheriff’s office in McClendon had provided sexual
offenders with fliers to place on their doors during Halloween, apparently without
challenge. See id. at 1335.

5 Plaintiffs contend that the signs “effectively announce to the public that they are
sexual offenders and that they pose an extreme danger to children,” but the signs
convey no such message. Motion at 11. The signs only state “no candy or treats here.”
Such a statement could be for any reason, including the obvious reason that the
homeowner does not want to participate in Halloween. While even non-ideological
factual statements can be compelled speech, the signs in this case are nonetheless
different than the larger signs in McClendon, which were posted by the sheriff,
included an explicit warning, and specifically stated they are being posted by law
enforcement for a public safety purpose.
                                         6
Case 3:22-cv-00931-TJC-PDB Document 11 Filed 09/14/22 Page 7 of 21 PageID 90




      In any event, McClendon does not foreclose all sign requirements under

different circumstances. The Eleventh Circuit recognized that governments

have a compelling interest in protecting children from sexual abuse, but the

sign policy there was not narrowly tailored to meet that interest because it

applied across-the-board, regardless of the offender’s crime or the status of the

victim. What the Court did not hold was that all such sign requirements are

unconstitutional, no matter how narrowly tailored.

      In Packingham v. North Carolina, 137 S. Ct. 1730, 1737 (2017), cited by

Plaintiffs, the Supreme Court held that a blanket prohibition on sexual

offenders accessing social media was not narrowly tailored to survive strict

scrutiny, but the Court emphasized that “this opinion should not be interpreted

as barring a State from enacting more specific laws than the one at issue.” The

Court reasoned that “it can be assumed the First Amendment permits a State

to enact specific, narrowly tailored laws that prohibit a sex offender from

engaging in conduct that often presages a sexual crime, like contacting a

minor…” Id. That is exactly what the City has attempted to do here by

enacting both the sign requirement and display prohibition: prevent RSOs

from engaging in conduct that would result in contact with minors.

      Here, both Plaintiffs were convicted of sexual crimes involving minors,

and there are other individuals also convicted of crimes involving children,

which the City has recognized pose a specific danger of recidivism, particularly

                                       7
Case 3:22-cv-00931-TJC-PDB Document 11 Filed 09/14/22 Page 8 of 21 PageID 91




at Halloween or during other events targeted toward children. In fact, JSO

has confirmed that RSOs have a history in Jacksonville of doing so. See fn. 1,

supra; Ex. C at ⁋⁋ 4, 6. Moreover, sexual predators are those convicted of repeat

offenses or particularly heinous crimes involving children, making the City’s

public safety interest even more compelling as to those individuals.                   If

McClendon forecloses the City’s current sign requirement, the City reserves its

right to enact a narrowly tailored ordinance to protect children at Halloween.

          B. The Code’s Narrow Ban on Home Displays Does Not Violate
             the First Amendment and is Not Unconstitutionally Vague.

      Plaintiffs claim Section 685.104(a)(3)(iv) of the Code, banning home

displays of sexual offenders and sexual predators if the displays are “primarily

targeted to entice, attract, or lure a child onto any residence or property,” is

unconstitutional for two reasons.              First, they claim this provision

unconstitutionally infringes on their right to engage in expressive conduct in

violation of the First Amendment.           Second, they argue this provision is

unconstitutionally vague. Plaintiffs are incorrect as to both claims. 6




6 Because both Plaintiffs are RSOs whose crimes and convictions involve illegal
sexual contact with or sexual interest in children, these Plaintiffs fall squarely within
the reach and intent of the City’s display prohibition. They have no standing to
challenge this provision on behalf of any other convicted individual who is required
to register as a RSO under state law for a non-child related offense.

                                           8
Case 3:22-cv-00931-TJC-PDB Document 11 Filed 09/14/22 Page 9 of 21 PageID 92




               i. The display provision is not aimed at expression.

      The display prohibition on its face does not violate the First Amendment.

As shown above, this provision simply furthers public safety and the protection

of children by limiting enticing decorations primarily aimed at children. This

is a narrow category of displays, and it would not include decorations such as

reasonable light or religious displays, which are not “primarily targeted” to

invite children onto an RSO’s property, a mens rea requirement for those RSOs

engaging in decorating their property. The City is furthering its compelling

interests in such regulations, while leaving alternative channels open for

Plaintiffs to engage in expression through all kinds of displays that are not

used to entice or attract children onto their property. Simply put, a violator

must have put up a display with the understanding and intent that doing so

would invite children onto his or her property.

      Contrary to Plaintiffs’ assertions, the City’s interest in public safety is

not “speculative” and was highlighted in enacting the amendments well over a

decade ago. The legislative history of the 2010 and 2015 amendments to the

ordinance are replete with findings supporting the need to protect children

from recidivist sexual offenders and sexual predators. See Ex. B. The City

cited to the State requirements for registration of RSOs, as well as the rate of

sexual victimization and recidivism of offenders. See id. at 2, citing Smith v.

Doe, 538 U.S. 84, 103 (2003). Furthermore, Halloween and other holiday

                                       9
Case 3:22-cv-00931-TJC-PDB Document 11 Filed 09/14/22 Page 10 of 21 PageID 93




activities present increased opportunities for such sexual offenders to abuse

children. Id at 3. The City found that activities such as “partying and handing

out candy” can lure children and increase their contact with RSOs, posing a

risk and thus necessitating the 2010 Ordinance. Id. When the Ordinance was

amended in April 2015, these findings were reiterated. See Motion, Ex. 1;

citing Hobbs v. County of Westchester, 397 F.3d 133 (2d Cir. 2005). The City

cited to the “experience in the field” of the JSO for the need to strengthen the

restrictions found in Chapter 685 to protect children. Id. at 1-2.

      The Court should not enjoin the City from enforcing its limited display

provision enacted solely to protect children. See, e.g., Wilson v. Lexington-

Fayette Urban County Government, 201 Fed. App’x. 317, 323-24 (6th Cir. 2006).

The provision simply restricts individuals convicted of sexual offenses

involving children (like these Plaintiffs) from using displays to entice children,

leading to the recognized danger of recidivism. 7 In short, it does not matter

the content of the display; what matters is whether it would entice children

onto an RSO’s property. There can be no stronger purpose to all of Chapter

685 than the protection of children. These public safety and welfare interests,




7 Of course, the restricted rights of sex offenders have been upheld by courts due to
the nature of their conduct and public interests protected. See, e.g., Doe v. City of
Lafayette, Ind., 377 F.3d 757, 768 (7th Cir. 2004); Brown v. City of Michigan City,
Ind., 462 F.3d 720, 729 (7th Cir. 2006).


                                         10
Case 3:22-cv-00931-TJC-PDB Document 11 Filed 09/14/22 Page 11 of 21 PageID 94




especially where children are involved, have certainly been recognized as

compelling interests by courts. These are the interests the Code seeks to

further by restricting certain conduct on the part of registered sexual offenders

and predators.

      Common sense dictates that the display prohibition is only aimed at

holiday or seasonal displays with the known likelihood of attracting children

to closer contact with RSOs by luring them to enter the property, not at the

many reasonable, typical holiday displays in the Plaintiffs’ examples.         As

mentioned above, Halloween is a known holiday where there is an expectation

that children will come onto private property; however other examples from

other holidays where such intent would also be clear include having a Santa

Claus booth where children can come meet Santa, advertising an Easter egg

hunt and associated displays, having a petting zoo or pony rides, or offering

other treats. There should be no expectation that normal decorations will

invite children onto properties during most holidays. The prohibition does not

prohibit simple displays of speech, lights or flags on Plaintiffs’ property.

      The intent of this provision is obviously to limit contact between RSOs

and children, not to restrict expression or adult-oriented displays. The display

prohibition should be construed by the Court in accordance with the City’s

compelling interest in public safety by restricting certain conduct by RSOs. See

also Maryland v. Craig, 479 U.S. 836, 855 (1990); Hodgson v. Minnesota, 497

                                        11
Case 3:22-cv-00931-TJC-PDB Document 11 Filed 09/14/22 Page 12 of 21 PageID 95




U.S. 417, 444 (1990); Prince v. Massachusetts, 321 U.S. 158, 168-70 (1944). The

City is only regulating a narrow category of displays, not nearly all displays.

See Hobbs, 397 F.3d at 147, 158 (upholding an executive order that prohibited

individuals convicted of sexual offenses from obtaining a permit to perform on

county property if the performances would “entice” children to congregate

around such persons, as purpose of the prohibition–to protect the safety of

vulnerable children from RSOs who would entice them–was not content-based

and thus intermediate scrutiny applied). The prohibition in Hobbs, like the

display prohibition here, furthered the government’s compelling interest in

protecting children, and “focus[ed] on the safety of children and aims to limit

the opportunity for such a convicted sexual offender to attract children with

whom he might later engage in child molestation.” Id. at 397 F.3d at 147, 152.

      Importantly, the City made specific findings in relation to the 2010

ordinance and its 2015 amendments, and it need not conduct its own studies

to conclude that RSOs, given the high risk of recidivism, pose a threat to

children such that certain enticing conduct needs to be regulated and

prohibited. See id. at 153, citing City of Erie v. Pap’s A.M., 529 U.S. at 296.

The City need only show that the Code provision “promote[s] a substantial

government interest that would be achieved less effectively absent the

regulation.” Ward v. Rock Against Racism, 491 U.S. 781, 798-99 (1989). The

display provision is narrowly tailored to meet a substantial–in fact,

                                      12
Case 3:22-cv-00931-TJC-PDB Document 11 Filed 09/14/22 Page 13 of 21 PageID 96




compelling–City interest in the protection of children. See Hobbs, 397 F.3d at

153; see also Doe v. City of Albuquerque, 667 F.3d 1111, 1121 (10th Cir. 2012)

(citing cases where courts have upheld laws imposing restrictions against

RSOs); Packingham, 137 S. Ct. at 1737 (recognizing state interest in

prohibiting RSOs from engaging in conduct that could result in contact with

minors).

      The limited display prohibition here differs from the broad sexual

offender act at issue in Doe v. Harris, 772 F.3d 563, 579-82 (9th Cir. 2014). In

Doe, the broad restrictions in California’s law were ambiguous as to what

“internet identifiers” sexual offenders had to provide to the State, and the act

was “arguably inconsistent.” Id. at 578. The law did not survive intermediate

scrutiny because it was not narrowly tailored, even though the district court

attempted to narrow its terms. See id. Here, the display prohibition contains

common sense, defined terms requiring that RSOs target their displays

primarily toward attracting children onto their property, and therefore it is

“reasonably susceptible” to a constitutional, narrowing construction. Id. The

provision can be construed in a way that makes the prohibition a narrow

restriction on RSO conduct, not a broad prohibition on otherwise adult

expression that would “chill” protected speech.

      Certainly, “it is almost always possible to hypothesize a less restrictive

alternative to any ordinance,” but courts should not be put in the position of

                                      13
Case 3:22-cv-00931-TJC-PDB Document 11 Filed 09/14/22 Page 14 of 21 PageID 97




having to decide what alternative language best meets a city’s compelling

needs in relation to conduct that threatens the safety of children, “a task courts

are ill-equipped to perform.” Assoc. of Community Organizations for Reform

Now v. Town of East Greenwich, 453 F. Supp. 2d at 394, 406 (D.R.I. 2006)

(discussing the safety hazards of door-to-door solicitation.)   Given the long-

recognized compelling interest in protecting children, common knowledge

shows that limiting decorations to prevent contact between RSOs and children

meets constitutional scrutiny. See Assoc. of Community Organizations, 453 F.

Supp. 2d at 414 (stating that the town did not need to provide specific evidence

or statistics to support its purported interests in regulating door-to-door

solicitation, as “it is common knowledge” that crime occurs during solicitation,

and it would make no sense to wait for harm to occur before passing a

regulation) (citation omitted). Plaintiffs have not met their burden to show

that such interests are not being furthered by the limited display prohibition.

               ii. The display prohibition is not void for vagueness.

      The    display   provision   is   also   not   unconstitutionally    vague.

Appropriately construed by the Court in light of the City’s explicitly stated

legislative intent, the narrow display prohibition reasonably alerts sexual

offenders and predators to the conduct that is prohibited–having decorative

displays that would specifically entice or lure children onto the individual’s

property. An RSO of ordinary intelligence is given fair notice of the scope of

                                        14
Case 3:22-cv-00931-TJC-PDB Document 11 Filed 09/14/22 Page 15 of 21 PageID 98




this provision. See Grayned v. City of Rockford, 408 U.S. 104, 108 (1972). This

is all the clarity that is required.

      As the Supreme Court has reasoned, “[c]ondemned to the use of words,

we can never expect mathematical certainty from our language.” Id. at 110.

Nor can every possible avenue of violation be predicted and legislated. Courts

should simply construe language according to its plain meaning and decide

whether it “conveys sufficiently definite warning as to the proscribed conduct

when measured by common understanding and practices.” Roth v. United

States, 354 U.S. 476, 491 (1957).

      Here, the Court must decide whether RSOs such as Plaintiffs would

sufficiently understand that they are not to use displays that are primarily

targeted to entice children. Any possible over-definition of what the provision

could conceivably cover can be dealt with and cured through “case-by-case

analysis and review.” Hobbs v. County of Westchester, 2003 WL 21919882 *7

(S.D.N.Y. 2003). Normal light and religious displays would not be covered;

clearly overdone holiday displays that include characters, activities or objects

primarily targeted to “entice, attract, or lure a child onto any residence or

property” would be covered. Certainly, displays that explicitly invite children

onto the property are covered. This Court should use reason and common

sense in construing the provision, viewing it in light of what a reasonable RSO



                                       15
Case 3:22-cv-00931-TJC-PDB Document 11 Filed 09/14/22 Page 16 of 21 PageID 99




would believe is prohibited and within the stated intent of the City. 8 This was

certainly true in 2016 when the City amended the display prohibition with the

agreement of other RSO plaintiffs, who understood what is prohibited by the

provision.

      Each of the active verbs in the display prohibition indicates intent or

some sort of mens rea on the part of the individual putting up the display to

primarily target that display to children, not just to put up traditional

decorations that are not invitations to come onto private property but are

objectively associated with holidays or seasonable events celebrated by people

of all ages. “Primarily” means “essentially; mostly; chiefly; principally,” while

“target” means “to use, set up, or designate as a target or goal.” These terms

are followed by: “entice” (meaning “to lead on by exciting hope or

desire; allure; inveigle”) 9; “attract” (meaning “to draw by appealing to the

emotions or senses, by stimulating interest, or by exciting admiration; allure;




8 Plaintiffs do not claim that the display prohibition is unclear with respect to
Halloween displays. Presumably, this is because Plaintiffs understand that any
Halloween display will entice and lure children to their property. Halloween is the
only holiday where children are impliedly invited on all private properties unless
active steps are taken to discourage them. The fact that Plaintiffs do not cite a desire
to decorate during Halloween underscores that they understand what they can and
cannot do with regard to displays.

9Interestingly, similar “entice” language was used in Hobbs and was not considered
vague.

                                          16
Case 3:22-cv-00931-TJC-PDB Document 11 Filed 09/14/22 Page 17 of 21 PageID 100




 invite”); or “allure” (meaning “to attract, entice, or tempt”). 10 In other words,

 if an RSO’s chief “target or goal” in putting up a display is to excite, attract,

 stimulate, invite, entice, or tempt children to come on onto the private

 property, that display is prohibited. Ordinary reasonable individuals know

 what these words mean, and they certainly know what their “primary target”

 or goal is when they put up decorations. Previous RSOs understood them

 because these words are not vague.

       If the Court finds any of these words ambiguous, it can also turn to the

 City’s legislative history to determine the meaning and intent of its Code

 provision. See, e.g., In re Racing Svcs., Inc., 779 F.3d 498, 503 (8th Cir. 2015)

 (reasoning that court can review legislative history if law is ambiguous or

 adhering to its strict letter would lead to absurd results). Moreover, the Court,

 whenever possible, should construe laws so as to avoid unconstitutionality. See

 Backpage.Com, 881 F. Supp. 2d at 1276.          As discussed above, the City’s

 legislative intent, set forth in 2010 and repeated in the amendments to the

 Code in 2015 and 2016, was to restrict the contact between RSOs and children,

 not to ban them from free expression or free association with adults (and

 familial children) in all other circumstances. Any reasonable RSO should




 10These common definitions are taken from dictionary.com, last visited on September
 7, 2022.
                                         17
Case 3:22-cv-00931-TJC-PDB Document 11 Filed 09/14/22 Page 18 of 21 PageID 101




 understand which displays should be, and are, prohibited by Code. 11 This

 means only those displays specifically used to entice and attract children.

 Religious symbols, lights and neutral holiday displays do not do that.

        Properly construed, the display prohibition exists for the common-sense,

 immensely important, protection of children in the City when sexual offenders

 or predators wish to entice them with decorations and prey upon them. As

 such, the sine qua non of the preliminary injunction analysis dictates that the

 Plaintiffs’ Motion should be denied as to the display prohibition. See SEC v.

 Fife, 311 F.3d 1, 8 (1st Cir. 2002).

      IV.   Plaintiffs Will Not Suffer Irreparable Injury if the Limited,
            Content-Neutral Display Ban is Enforced.

        Plaintiffs also cannot show that they will suffer an irreparable injury

 should preliminary injunctive relief be denied as to the display prohibition. See

 Ingram v. Ault, 50 F.3d 898, 900 (11th Cir. 1995); McDonald’s Corp. v.

 Robertson, 147 F.3d at 1301, 1306 (11th Cir. 1998). Plaintiffs have no basis to

 argue that they would be irreparably harmed during the course of these

 proceedings if they cannot entice or lure children during holiday or seasonal


 11Given the City’s clear intent in passing the display prohibition in 2010 and then
 amending it in 2015 and shortly thereafter in 2016 (as a result of a settlement with
 previous RSO plaintiffs), it defies common sense to suggest that any holiday display
 or decoration, such as a simple wreath on the door or a tree or “piece of furniture”
 inside the home, would entice children to come onto the property and closer to contact
 with its owner. This is different than handing out or providing candy or other inviting
 objects that would certainly draw children to the property.

                                           18
Case 3:22-cv-00931-TJC-PDB Document 11 Filed 09/14/22 Page 19 of 21 PageID 102




 events or through decorations. The display provision is not content-based and

 does not unconstitutionally limit Plaintiffs’ free speech or association rights as

 adults. It does not apply to the overreaching hypotheticals Plaintiffs put forth

 in their Motion. Properly construed in accordance with the stated legislative

 intent, the display provision only curtails holiday and seasonal activities that

 could lure or entice children and thus pose a potential safety risk.

         Arguing that First Amendment activity cannot take place does not create

 an irreparable injury where the City’s regulation is not content-based because

 the prohibition is not aimed at protected speech or association and leaves

 plenty of alternative channels open for adults to exercise their First

 Amendment rights. When the record presented by Plaintiffs is inadequate,

 particularly on the irreparable harm requirement, the Court should not grant

 the extraordinary remedy of a preliminary injunction. See Northeastern Fla.

 Chapter of the Assoc. of General Contractors of America v. City of Jacksonville,

 896 F. 2d 1283, 1286 (11th Cir. 1990). That is the case here, as this provision

 has been in place in its current form since 2016, and the Plaintiffs have never

 been fined or arrested.

    V.      The Balance of Harms Favors the City.

         The serious harm to the City, and the children therein, that would result

 from striking a longstanding portion of its Code regulating the contact between

 sexual offenders and predators, right before Halloween, outweighs any harm

                                         19
Case 3:22-cv-00931-TJC-PDB Document 11 Filed 09/14/22 Page 20 of 21 PageID 103




 that could conceivably be caused by application of limited restrictions on such

 contact with children. If the display prohibition is struck down, the City would

 be forced to scramble to create a new prohibition or else allow RSOs to put up

 any enticing, child-oriented decorations. The City has a substantial obligation

 to provide for the safety of its children, and it has long been recognized that

 cities have a significant interest in maintaining their police powers. Plaintiffs

 have shown nothing to override this compelling interest of the highest order. 12

      VI.   Conclusion

        Plaintiffs cannot demonstrate any of the criteria for an extraordinary

 preliminary injunction, at least as to the display prohibition.           They offer

 nothing but overreaching hypotheticals. The City respectfully requests that

 this Court deny Plaintiffs’ Motion for Preliminary Injunction (Doc. 2) as to the

 display provision.

                                               Respectfully submitted,

                                               OFFICE OF GENERAL
                                               COUNSEL

                                               /s/ Craig D. Feiser
                                               CRAIG D. FEISER
                                               Assistant General Counsel
                                               Florida Bar No. 164593
                                               CFeiser@coj.net; BOsburn@coj.net
                                               LAURA J. BOECKMAN

 12 It is also important to note that Chapter 685 of the Code contains a severability
 provision at section 685.104(g). Plaintiffs here only challenged two select provisions
 of Chapter 685.
                                          20
Case 3:22-cv-00931-TJC-PDB Document 11 Filed 09/14/22 Page 21 of 21 PageID 104




                                             Assistant General Counsel
                                             Florida Bar No.: 527750
                                             LBoeckman@coj.net;
                                             SStevison@coj.net
                                             117 West Duval Street, Suite 480
                                             Jacksonville, Florida 32202
                                             (904) 255-5100 (Telephone)
                                             (904) 255-5120 (Facsimile)
                                             Counsel for Defendant

                        CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 14th day of September, 2022, a true

 and correct copy of the foregoing was filed with the Clerk of Court for uploading

 to the CM/ECF system which will send notice of electronic filing to all counsel

 of record who are participants in the Court’s ECF filing system: Ray Taseff,

 Esq. and Dante P. Trevisani, Esq., P.O. Box 370747, Miami, FL 33131-2309.

                                             /s/ Craig D. Feiser
                                             Counsel for Defendants




                                        21
